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 1   WILLIAM J. PORTANOVA, State Bar No. 106193
     Attorney at Law
 2   400 Capitol Mall, Suite 1100
     Sacramento, CA 95814
 3   (916) 444-7900
     (916) 444-7998 fax
 4   portanova@thelawoffices.com
 5   Attorney for Defendant Joseph Gallo
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 7
 8
 9                                 UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA             )                 CASE NO.       CR-S-07-432-EJG
                                          )
13                Plaintiff,              )
                                          )                 STIPULATION AND
14          v.                            )                 ORDER
                                          )                 RE: CONDITIONS OF
15   JOSEPH GALLO,                        )                 PRE-TRIAL RELEASE
                                          )
16                Defendant.              )
      ___________________________________ )
17
18
            With this Court’s permission, Defendant Joseph Gallo and the United States of America,
19
     by and through their undersigned attorneys, do hereby agree and stipulate to a modification of
20
     Defendant Gallo’s Conditions of Pre-Trial Release. The purpose of this modification would be
21
     to allow him to travel to Mexico between September 26, 2009 and October 3, 2009. This
22
     Stipulation is necessary due to the existing Court Order restricting the Defendant’s travel to
23
     within the Eastern District of California and because the Defendant will need to temporarily
24
     retrieve his U.S. Passport from the District Court Clerk for this brief period.
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            The details of the trip are known to Pre-Trial Services Officer Becky Fidelman and she
26
     has asked for the posting of an additional security to ensure the Defendant’s return. At the
27
     moment, the Defendant’s appearance has been secured by a One Hundred Thousand Dollar
28
     Security, signed by both himself and his mother, Dana Gallo.
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 1          Defendant Gallo has made all necessary court appearances for over two years.
 2          For purposes of this Stipulation and Order, it is proposed that the Defendant increase the
 3   amount of his security to Two Hundred Thousand Dollars. Accordingly,
 4                 1. It is hereby stipulated that Defendant Joseph Gallo be allowed to travel to
 5                 Mexico between September 26, 2009 and October 3, 2009 for personal
 6                 business.
 7                 2. It is further stipulated that Defendant’s passport be returned to him by
 8                 the Clerk of the Court for the purposes of this trip. Defendant is to return
 9                 said passport to the office of the Clerk within three days of his return from
10                 Mexico, and in no event later than October 7, 2009.
11
12   SO STIPULATED.
13                     10                         /s/ Joseph Gallo
     DATED: September_______, 2009                ______________________________________
14                                                JOSEPH GALLO
                                                  Defendant
15
                       10                         /s/ William J. Portanova
16   DATED: September_______, 2009                ______________________________________
                                                  WILLIAM J. PORTANOVA
17                                                Attorney for Defendant Joseph Gallo
18                     10                         /s/ Matthew Stegman by WJP
     DATED: September ______, 2009                ______________________________________
19                                                MATTHEW STEGMAN
                                                  Assistant United States Attorney
20
21   IT IS SO ORDERED.
22
     DATED: September 10, 2009                    /s/ Edward J. Garcia
23                                                THE HON. EDWARD J. GARCIA
                                                  United States District Court
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